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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

PEGGY FARRICIELLI,

           Plaintiff,

v.                                 Case No:   2:17-cv-369-FtM-29MRM

COMCAST                   CABLE
COMMUNICATIONS, LLC,

           Defendant.


                                   ORDER

      This matter comes before the Court on the parties' Stipulation

to Dismiss (Doc. #19) filed on November 12, 2019.             The parties

have agreed to the dismissal of this case in its entirety, and a

case is deemed dismissed upon the filing of such a stipulation.

Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir.

2012).

      Accordingly, it is hereby

      ORDERED AND ADJUDGED that the Clerk is directed to terminate

all previously scheduled deadlines and pending motions and close

the case pursuant to the parties’ stipulation.

      DONE and ORDERED at Fort Myers, Florida, this            14th     day

of November, 2019.




Copies:   Counsel of Record
